        Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 1 of 19




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   §
                                           §
                                           §
v.                                         §         Case No. 21-CR-00022-KBJ
                                           §
                                           §
CHRISTOPHER RAY GRIDER,                    §
                                           §
      Defendant                            §

                 MEMORANDUM IN SUPPORT OF
        DEFENDANT’S MOTION TO REVOKE DETENTION ORDER

TO THE HONORABLE KETANJI BROWN JACKSON, UNITED STATES DIS-
TRICT COURT JUDGE FOR THE DISTRICT OF COLUMBIA:

      COMES NOW CHRISTOPHER RAY GRIDER, the Defendant in the above

styled and numbered cause, by and through undersigned counsel, and submits the

following memorandum in support of his Motion to Revoke Detention Order filed with

this Court on February 11, 2021. (Doc. No. 10).

Introduction and Question Presented

      The question presented here is whether the Government has proven clearly

and convincingly, based solely on Mr. Grider’s actions at the United States Capitol

Building on January 6, 2021, that he is such a danger to the community that there

are no condition or combination of conditions to ensure the safety of the community.

Let there be no mistake about it: the Government has not presented (nor can it pre-

sent) a single piece of evidence to show that anything about Mr. Grider before or after

that fateful day even raises a suspicion that he might be a danger to the community.




                                           1
         Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 2 of 19




Let there also be no mistake that the Government has not presented (nor can it pre-

sent) a single piece of evidence to show that Mr. Grider planned his actions at the

Capitol Building, or that he rejoiced and continued to threaten violence thereafter.

The evidence presented to the magistrate and this Court shows the exact opposite.

       This Court must ask itself: if the FBI or other law enforcement agencies really

believed that Mr. Grider was such a danger to the community, why did they not go

out and arrest him immediately? As the Government points out in their memoran-

dum, Mr. Grider’s presence at the Capitol was made known immediately thereafter

when he voluntarily participated in an interview with a local television station in

nearby Waco. Law enforcement, by the Government’s own admission, confirmed this

days later on January 9, 2021.1 The following day, Mr. Grider’s previous counsel was

communicating with the United States Attorney’s Office for the District of Columbia

regarding Mr. Grider’s involvement in the January 6 incident at the Capitol.2 More

than 10 days passed before federal agents contacted Mr. Grider. Did they show up at

his home in Chilton, Texas in SWAT gear with assault weapons drawn? No. Did they

make forced entry into his home to arrest him in the middle of the night? No. What

did they do? They called him up and asked him to come to Austin, Texas. And that is

exactly what Mr. Grider did.

       All of this speaks volumes — and more importantly, the truth — about how




1Gov’t Memorandum in Opposition to Defendant’s Motion to Revoke Detention Order [hereafter Gov’t
Memo] at 2–3.
2See Confidential Memorandum in Support of Pretrial Release, Doc. No. 12 in Case No. 21-mj-00033-
SH in the Western District of Texas, Austin Div., filed under seal, at 1–2.

                                               2
            Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 3 of 19




Mr. Grider is not a danger to the community. It is precisely why the Pretrial Services

Officer who investigated this case recommended that Mr. Grider be released on an

unsecured bond with standard conditions of release. It is precisely why this Court

should find that the Government failed to meet its burden.

Application of Section 3141

          As Mr. Grider laid out in his Motion to Revoke the Detention Order — and as

this Court has recognized — “it is clear beyond cavil that, before a guilty plea or con-

viction, ‘liberty is the norm and detention prior to trial or without trial is the carefully

limited exception.’”3 To say there are “carefully limited exceptions” is an understate-

ment. As the Supreme Court pointed out twice in Salerno, “The Bail Reform Act care-

fully limits the circumstances under which detention may be sought to the most seri-

ous of crimes,”4 “a specific category of extremely serious offenses.”5

          Mr. Grider is not charged with any of these enumerated “extremely serious

offenses.”6 On the contrary, in five of the seven counts against him, he is charged with




3United States v. Wiggins, No. 19-CR-258-KBJ, 2020 WL 1868891, at *3 (D.D.C. Apr. 10, 2020)(quoting
United States v. Salerno, 481 U.S. 739, 755, 107 S. Ct. 2095, 95 L. Ed. 2d 697 (1987)).
4   Salerno, 481 U.S. at 747, 107 S. Ct. at 2101.
5   Id. at 747, 107 S. Ct. at 2101.
6 See 18 U.S.C. § 3141(f)(1) (West 2020). Although the Government did not move for detention on this
basis, in its Memorandum, for the first time, the Government maintains that this case involves a
“crime of violence,” namely, the allegation against Mr. Grider that he committed the offense of De-
struction of Government Property over $1,000 in violation of 18 U.S.C. § 1361. Cf. Doc. No. 2 in Case
No. 21-mj-00033-SH in the Western District of Texas, Austin Div.(Government’s Motion for Detention)
and Gov’t Memo at 14. To support this position, the Government cites to the definition of “crime of
violence” laid out in 18 U.S.C. § 16(b) and then, without authority, argues that this offense meets this
definition. See Gov’t Memo at 14. This definition of “crime of violence,” however, has been declared as
unconstitutionally vague by the Supreme Court and Mr. Grider maintains that this Court should not
consider Section 3141(f)(1)’s application here. See Sessions v. Dimaya,__ U.S.__, 138 S. Ct. 1204, 1216,
200 L. Ed. 2d 549 (2018).

                                                    3
            Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 4 of 19




only misdemeanors. In one of the remaining two counts, he is alleged to have de-

stroyed government property over $1,000 and aided and abetted the commission of

that offense. While the offense is punishable by up to 10 years in prison, the Sentenc-

ing Guidelines prescribe a base offense level of 6, which, with Mr. Grider’s limited

criminal history, places him in the 0–6 month sentencing range.7 In the other count

against him, Mr. Grider is charged generally with obstruction of an official proceed-

ing, namely Congressional proceedings, and aiding and abetting the commission of

that offense. While that offense is punishable by up to 20 years in prison, the Sen-

tencing Guidelines prescribe a base offense level of 14 which, with Mr. Grider’s lim-

ited criminal history, places him in the 15–21 month sentencing range.8 In short,

none of the alleged offenses could be considered to fall within that category of offenses

deemed to be “extremely serious.”

          The Government’s motion to detain, in fact, did not move to detain Mr. Grider

under any of the grounds set out in Section 3142(f). Instead, their motion simply al-

leged that there were no condition or combination of conditions that would reasonably

assure the appearance of the person as required and the safety of any other person

and the community.9 As Mr. Grider set out in his Motion to Revoke Detention Order,

this is not a permissible basis for detention based on the cases cited therein and Mr.




7   See 18 U.S.C. § 1361 (West 2020); U.S.S.G. § 2B1.1.
8   See 18 U.S.C. § 1512(c) (West 2020); U.S.S.G. § 2J1.2.
9See Doc. No. 2 in Case No. 21-mj-00033-SH in the Western District of Texas, Austin Div.(Govern-
ment’s Motion for Detention); 18 U.S.C. § 3142(e)(1) (West 2020).



                                                     4
            Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 5 of 19




Grider maintains that he should be released on that basis alone.10

          However, even if this Court chooses to apply the factors set out in Section

3142(g) for making such a determination, a careful and thorough inspection of the

evidence presented here establishes that all these factors weigh in favor of Mr. Grider

and require his release.

Nature and Circumstances of the Offense Charged

          There are two ways to look at the nature and circumstances of the offense

charged. This Court can rely on the Government’s interpretation of the limited bits

and pieces of the puzzle that it chose to present to the magistrate and chooses to

present to this Court. Or this Court can see and hear with its own eyes and ears

everything that took place when Mr. Grider approached the Speaker’s Lobby door on

the multiple videos showing what took place, including his own video located by click-

ing on this link: https://app.box.com/s/1efe2q4mloibgpbhjrzqb48bnjxvrci2. While he

regrets being inside the Capitol Building, Mr. Grider has no reservations about al-

lowing this Court to see his video. It shows the truth about what happened and, more

importantly, shows that his actions were not consistent with someone who wanted to

inflict harm, breach the chamber doors, or otherwise engage in violence.

          The video begins with Mr. Grider walking up to the Speaker’s Lobby door along

with a few other people. In their Memorandum at Page 7, the Government states the

following:

      •   “Members of the crowd were shouting and gesticulating at the officers.” As the



10   Doc. No. 10 at 12–13.

                                             5
          Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 6 of 19




         video shows, Mr. Grider is not shouting nor is he “gesticulating at the officers.”

         To the contrary, he is genuinely pleading with the officers to take some action

         to help people that are being crushed in the large crowds, including other of-

         ficers. Listen to it. It is clear as day on the video.

     •   “A young male wearing a fur-lined hat was observed repeatedly punching the

         glass panels of the doors immediately behind the officers with his fists, causing

         the glass to splinter.”11 Mr. Grider’s video, nor any of the open-source (aka

         YouTube) videos show Mr. Grider “repeatedly punching the glass panels” there

         or anywhere else in Capitol Building.

     •   “While throwing two of the punches, that male pushed his body up against one

         of the Capitol Police officers guarding the door.” Mr. Grider, on the other hand,

         was never seen in his videos or any other open-source videos placing his hands

         on any officer in an offensive or assaultive manner anywhere in the Capitol

         Building.




11 This male has been identified as Zachary Alam who has been charged under case 21-mj-165, ar-
rested, and detained in the Eastern District of Pennsylvania. See Case No. 2021-mj-00196 in the
United States District Court for the Eastern District of Pennsylvania. Per his complaint, Mr. Alam is
in a distinctly different position than Mr. Grider. While he is charged with the same offenses as Mr.
Grider, he is also charged with assault on an officer with a deadly or dangerous weapon in violation of
18 U.S.C. § 111(a) and (b). See Doc. No. 1 in Case No. 21-mj-165. Also distinctly different are the facts
that (1) Alam entered the Capitol Building through a broken window, (2) engaged in the acts described
above, and (3) after the incident, concealed his whereabouts by using a different telephone number to
contact family members, failing to reveal his location to a family member, and telling that family
member that “he was not going to turn himself into authorities because he did not want to go to jail
again.” See id. at 5–14. Also worth noting about Mr. Alam’s case: in the sworn complaint of the federal
agent in that case, the agent states that Alam “took a black-colored helmet from an individual with a
yellow ‘Don’t tread on me’ flag”; that is far different from what the Government maintains here, argu-
ing that Mr. Grider gave the helmet to Alam, somehow facilitating Alam’s independent acts of violence.
See id. at 6 (emphasis added).

                                                   6
       Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 7 of 19




  •   “That male was also observed shouting and pointing aggressively at the offic-

      ers.” Mr. Grider, however, is never seen nor heard shouting and pointing at the

      officers in any aggressive manner.

  •   “Grider was then observed handing a black helmet to the male and speaking to

      him. The defendant appeared to knock on the top of the helmet, signifying that

      it was a hard instrument, and the young male accepted it.” Critically lacking is

      any evidence that Mr. Grider ever instructed or directed the male to use the

      helmet to break the door or the windows. Nor is there any evidence that the

      male told Mr. Grider that he wanted to break the door or the windows with the

      helmet. Although eventually no video images are captured on Mr. Grider’s

      video, the audio is still recording and never once does it capture any incrimi-

      nating statements.

  •   “Additional officers in riot gear arrived behind the crowd at the Speaker’s Lobby

      doors, and the three officers guarding the door appeared to move to the adjacent

      wall.” This is where the video located at https://youtu.be/AZ9oThRuMVs shows

      exactly what Mr. Grider did. At 38 seconds into the video, Mr. Grider, draped

      in a yellow flag, is seen turning away from the door and trying to follow officers

      away from the door. Four seconds later, as he is still trying to move away from

      the door, the person who is presumably Ashli Babbitt is seen trying to climb

      through the broken windows where she was ultimately shot. He was not seen

      conversing with her, pushing her, or doing anything to aid or abet her actions.

Later in their Memorandum, the Government points to what “the mob” or “others”



                                           7
            Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 8 of 19




were doing, but never can specifically point to something Mr. Grider himself is doing:

          Context is surely instructive, and here the defendant’s efforts to paint
          his actions by the Speaker’s Lobby as innocuous falter because they are
          divorced from context: the yelling, gesticulating mob that he was at the
          front of; the mob’s sustained efforts to breach a guarded, visibly barri-
          caded entrance in close proximity to the House Chamber; the mob’s curs-
          ing and cries of “Fuck the blue!” directed at the Capitol Police officers
          responsible for guarding the doorway; and the violent attack on govern-
          ment property that occurred before the defendant’s eyes and with his fa-
          cilitation.12

Again, all the videos show that Mr. Grider was not yelling, not gesticulating, nor ever

participating in a “sustained effort” to breach the lobby door. Never once in these or

any other videos is Mr. Grider heard shouting “Fuck the blue!” at any police officers.13

          While Mr. Grider may have witnessed a “violent attack on government prop-

erty” with his own eyes, the evidence shows that he was not part of that effort. And,

while there were certainly others there who were focused on doing harm and commit-

ting violence, there is nothing to show that Mr. Grider had that intent. That leads to

consideration of the second factor in this analysis.

The Weight of the Evidence Against Mr. Grider

          Mr. Grider concedes that there is an abundant amount of evidence created of

his own volition that can and will be used against him before this Court. From his




12   Gov’t Memo at 17 (emphasis added).
13 This is consistent with him having worked as a military police officer and having supported local
law enforcement in the community where he lives as reflected in the Pretrial Services Report and his
Memorandum in Support of Pretrial Release submitted to the magistrate. See Confidential Memoran-
dum in Support of Pretrial Release, Doc. No. 12 in Case No. 21-mj-00033-SH in the Western District
of Texas, Austin Div., filed under seal, Exhibit A.



                                                 8
           Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 9 of 19




videos and statements to the multiple other open-source videos, it goes without say-

ing that there is absolutely no doubt that he entered the Capitol Building on January

6, 2021.

      Where the magistrate and the Government erred, however, is leaping to the

conclusion that, just because there is video evidence to show Mr. Grider inside the

Capitol Building, this equates to “extremely strong evidence” to show that Mr. Grider

was a leading participant in the offenses charged or, more importantly, intended to

commit the alleged offenses. What the videos do not show entirely is what was going

through Mr. Grider’s mind on that tumultuous day, what his subjective intent was,

and what his objectives were inside of the Capitol.

      There is still much to be uncovered regarding this critical element of the of-

fenses. As has been stated repeatedly, there is no evidence that Mr. Grider traveled

to Washington, D.C. intending to participate in a riot or insurrection, much less com-

mit a criminal or violent act, unlike several others who have been charged for their

actions on January 6. As Mr. Grider showed through the proffered testimony of Rissa

Shaw, the reporter who interviewed Mr. Grider and reported on his entry into the

Capitol, as she spoke to Mr. Grider to prepare her story, he was clear, calm, and, most

importantly, she “did not at any point ever think that he was a threat to anyone” or

“engaged in any violent acts.” DH at 14. She would have testified that “there was

never any indication of him acting maniacally or espousing radical views, or anything

of the sort.” DH at 14.

      As stated in his Motion to Revoke Detention Order, Mr. Grider is not a member



                                          9
         Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 10 of 19




of the Three Percenters, Proud Boys, Oath Keepers or any other right-wing extremist

group. He does not subscribe to the beliefs of QAnon or other conspiracy theories re-

lated to the government.

       The weight of the evidence at this point in time simply shows Mr. Grider, like

thousands of others, entered the Capitol Building on January 6, 2021. Every other

action by him prior to and after that fateful day proves he is not a violent person who

went there with the intent to commit violent acts or developed the intent to commit

violent acts. This leads to the third factor in this analysis.

The History — and Incredible Characteristics of Christopher Grider

       The Government is absolutely right about one thing: Mr. Grider has “minimal

criminal history” and “has numerous individuals who have vouched for his charac-

ter.” But that is still a massive understatement.

       Christopher Grider grew up “as an obedient son.”14 As the oldest sibling of

three younger siblings, he “could be trusted to care, tend, and be sure they were con-

tent.” One of his sisters noted that, while growing up, she watched her “brother be

completely dedicated to whatever job he had at the time,” sometimes working multi-

ple jobs to help support his family. Another sister recounted that his “whole childhood

and young adult life was committed to serving his country.” As his father recalled,

Chris joined the Civil Air Patrol while in high school and eventually enlisted in the

Army National Guard.


14Letter from Dana Barry to Judge Hightower, included in Exhibit A to Confidential Memorandum in
Support of Pretrial Release, Doc. No. 12 in Case No. 21-mj-00033-SH in the Western District of Texas,
Austin Div., filed under seal. All facts conveyed in the following paragraphs come from the additional
letters submitted and admitted as Exhibit A.

                                                 10
       Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 11 of 19




      Chris’ love and passion also extended — and continues to extend — to his wife,

Crystal. The two of them were high school sweethearts and married when Crystal

was a freshman at Texas A&M University. As Crystal suffers from significant hear-

ing loss, she has to read lips to help her understand people speaking. Despite this

disability, the love shared between the two was and still is unconditional.

      In 2001, Chris switched over from the Army National Guard to the Air Force

where he became involved in security forces as a military police officer. After he was

honorably discharged, he returned to Dallas where he obtained employment as a loss

prevention officer for the Neiman Marcus department store in downtown Dallas. He

also worked part-time along with Crystal who worked full-time for another business

in downtown Dallas. While working these two jobs, Chris also managed to attend

school at Dallas Baptist University and earn a degree in teaching.

      In 2008, Chris began his career as a teacher in the Dallas Independent School

District before moving to the nearby McKinney Independent School District. During

this time, his family grew with the birth of two of his sons. Despite his many obliga-

tions, he continued to maintain close relationships with his family and friends and

help them in times of need.

      One of his best friends’ wife recounted how, when they were first married, they

struggled financially, but Chris and Crystal were there to help them with their home-

made wedding. She also recounted how when, in 2008, their first son tragically passed

away in the NICU, Chris and Crystal were one of the few friends to go be with them

and support them through their difficult times. As she recalled, “Chris was so moved



                                          11
          Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 12 of 19




by our loss [that] he painted an art piece for us to remember the life we had lost,” a

painting which, to this day, still hangs in her office.

         Chris’ aunt, who accounted for Chris treating “others with equity, not putting

himself above other,” shared her experience when her ex-husband left her with her

three daughters. As she explained, “Christopher welcomed us to his home for shelter

until I could get back on my feet,” including helping one of her daughter’s who has

special needs. She noted that Chris was “very accommodating, loving, and non-par-

tial.”

         Chris also put his passion into teaching. As his sister recalled, she could “re-

member him telling [her] stories of how he would encourage his students to be their

best and to help others with problems. He took the time to seat them in ways that

were beneficial to the child’s individual psyche and gave each student individual time

when needed.”

         Chris’ passion for teaching ultimately led him to return to school, enrolling in

the University of Texas at Dallas’s Masters in Fine Arts program where he was a

“serious and dedicated student” and whose art pieces were recognized as “very com-

pelling.”

         Right about the time he graduated from that program in 2012, Chris, Crystal,

and their boys moved to Central Texas near Chilton, Texas to live on Crystal’s grand-

father’s farm after he passed away. Chris continued teaching at a nearby school dis-

trict where one fellow educator noted




                                            12
       Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 13 of 19




      how in tune Chris was with students from diverse backgrounds with a
      wide variety of artistic and academic abilities. He worked well with stu-
      dents in our program and especially those with the most profound disa-
      bilities which were able to attend his art class as one of just a few classes
      they could participate in as a mainstreamed student while being es-
      corted by a paraprofessional. Chris loved introducing new ideas to our
      students. He inherited an art program based on basic drawings and
      transformed it into one of drawing, painting, sculpture, and photog-
      raphy. He allowed students to push their own comfort zones by using art
      as a format to express themselves, struggles of past generations, and
      hopes for the future. Chris single-handedly secured funds and planned
      a trip for our students to visit The Art Museum of Dallas.

Despite this passion and talent for teaching, however, the move back to Chilton cre-

ated a new fire within Chris.

      While living in Dallas, Chris and Crystal had worked at a winery and both

developed a love, passion, and dream of opening a winery of their own one day. When

the opportunity came for them to move back to the family farm in Chilton, that dream

started to become a reality.

      When Chris and Crystal first visited the farm shortly after they started dating

in high school, they went out on the property, found a large hackberry tree that they

climbed up into, and shared their first kiss. That tree came to be known to them as

the “Kissing Tree.” Hence, years later when they returned to the property as a mar-

ried couple with a family, the tree would serve as the inspiration for their new com-

pany: Kissing Tree Winery. The two of them started from scratch, planting a vineyard

on the farm property and eventually occupying several buildings in the tiny town of

Bruceville-Eddy located on Interstate 35 just south of Waco.

      The project became a full-time endeavor for Chris and so, in 2016, he left his

teaching position and committed himself fully to getting Kissing Tree off the ground.


                                           13
        Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 14 of 19




Nevertheless, as one teacher recalled, Chris “continued to play a vital role in the lives

of several young men” at a local high school, employing them to work at the vineyard

in rural Falls County. As she explained, “Knowing these teenagers did not have cars

or an adult willing to bring them out, [Chris] would drive to Waco (approximately 30

miles) each morning to pick them up, guide them through hard labor work during the

day, feed them lunch and return them to Waco each evening, often making sure they

made it back in time for summer workouts with the football team.”

      As Chris grew the winery, the positive impact was felt by many in the local

community. Chris began hiring many people in and around the area from all back-

grounds and races, veterans, and people needing a second chance. When one friend

lost their job in 2016 due to downsizing, Chris offered him a job as a “jack of all trades”

at the winery for several weeks until he could get back on his feet. Over time, Chris

developed a “great reputation in the community as a good employer who is honest,

generous, and understanding” and helped revitalize the local economy. Employees

saw him as a good boss who was “respectful and as accommodating as possible to any

needs [they] may have.” In the tasting room in Bruceville-Eddy, Chris proved to be a

savvy entrepreneur, interacting with customers, getting to know them on a personal

level, and making sure everyone left the store happy.

      By 2020, the winery grew into such a successful enterprise that Chris and

Crystal took the opportunity to launch their “expansion project,” the Taste by Kissing

Tree Winery steakhouse in downtown Waco. Just as the restaurant was getting off to




                                            14
       Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 15 of 19




a successful start and showing promise, the COVID-19 pandemic hit, effective shut-

ting the new business down.

      Chris, however, continued to work hard to support his family, his community,

and keep the winery running.

      In short, absolutely nothing about Mr. Grider’s history or characteristics

demonstrate in the remotest sense that he a danger to the community. This leads to

the final, and apparently overlooked factor.

Nature and Seriousness of the Danger Posed by Mr. Grider’s Release

      What the Government has not — and cannot — point to is the nature and se-

riousness of the danger to any person or the community that would be posed by Mr.

Grider’s release. Again, as proof positive of this, this Court simply needs to look at

the actions of law enforcement officials once they knew about Mr. Grider’s participa-

tion in the events of January 6 at the Capitol. No one went running to arrest him.

SWAT teams did not immediately descend on his farm to detain him. What did they

do instead? They called him up and allowed him to drive to Austin days later to sur-

render himself.

      Although not presented to the magistrate, Mr. Grider would proffer that he

never considered himself to be politically active until recently as he became enamored

with then-President Donald Trump. He eventually bought himself “Trump flags” and

attended two campaign rallies where Trump himself spoke. As his brother-in-law

(himself a self-proclaimed “liberal”) described it, Mr. Grider came to “idolize” Trump.

      Mr. Grider was undeniably disappointed when Trump lost the presidential



                                          15
           Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 16 of 19




election. In terms of the narrative being pushed by Trump that the election was “sto-

len,” Chris’ position was “maybe it was, maybe it wasn’t”; what really concerned him

was the “nothing-to-see here attitude” being taken by elected officials.15

          Noticeably absent in Mr. Grider’s case — but seen in several other cases in-

volving individuals detained for their involvement of the events of January 6 at the

Capitol — is any efforts by him planning for a riot, insurrection, or other unlawful or

violent activities in Washington or anywhere else for that matter.

          Mr. Grider’s decision to travel to Washington, D.C. was literally a “last-mi-

nute” decision between he and a friend. With his wife taking a “girls vacation” toward

the end of January, he and his friend saw this as their “guys’ trip.” The plan was to

fly into Washington, attend the rally, have a nice dinner at a steakhouse afterward,

spend the night, and return to Texas the following day. When he arrived at Trump’s

rally, he became overwhelmed by the excitement and the crowds present as he stood

at the back of the crowd. When Trump told the massive crowd that he wanted them

to “march down Pennsylvania Avenue” to the Capitol and that he was going to join

the crowd, Mr. Grider was shocked and surprised. He had no idea the event would

move there. The next thing he knew, he was moving toward the Capitol with the rest

of the crowd.

          After leaving the Capitol, he was stunned by what he had seen happen. Con-

trary to the Government’s reference in their memorandum that “he expressed no such

remorse when he chose to go on television” later that day, as the reporter who spoke



15   See Exhibit B for DH.

                                            16
           Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 17 of 19




with him and reported his story recounted, Mr. Grider felt “a need to report what was

going on” and was shocked to see a woman get killed in front of him.16 Again, notice-

ably absent is any reporting or discovery of social media posts, electronic communi-

cations, or any other evidence where Mr. Grider was threatening to commit any fur-

ther acts of violence against anyone or anything.

          While the Government brings up for the first time that Chris told his wife to

“get rid of his Trump things” after his trip to Washington, D.C., insinuating that it

“casts doubts on his characteristics of compliance,” once again, the Government is

only presenting bits and pieces of the story to fit its narrative and, worse, creating

what it should know to be a false narrative.

          As recounted supra, as soon as January 10, a previous attorney for Mr. Grider

had already made contact with the United States Attorney’s Office for the District of

Columbia and indicated to them that Mr. Grider wanted to discuss his involvement

in the events of January 6 at the Capitol. There was nothing to hide because it was

already publicized that he was there. Because his story had been published in the

media four days prior, public opinion was mounting against him and the winery and

several people had posted threatening messages on social media. Any attempts to

move clothing or other items were done out of concern for his and his family’s safety

and to preserve the evidence. Just as he had backed up the contents of his cell phone

to a computer prior to taking it with him when he self-surrendered to federal agents

in Austin, he wanted to make sure all other evidence was properly preserved.



16   DH at 14.

                                            17
       Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 18 of 19




      When law enforcement executed its search warrant of Mr. Grider’s home, his

wife, Crystal, made no efforts to conceal the evidence, immediately informing them

of the whereabouts of the items they were looking for. The entire time, the agents

were cordial and polite with her and there was never any indication given to her that

she nor Mr. Grider were attempting to obstruct justice. Consistent with that motive,

the neighbor met with and confirmed this to agents.

      The bottom line is that there is no evidence to show a danger to any person or

the community that would be posed by Mr. Grider’s release. On the contrary, more

harm is being done to others and the community by keeping him detained.

      Mr. Grider’s wife is at home having to take care of and support their three

children. As several people stated in their letters, Mr. Grider is needed to help keep

their business running and employees working. As the winter storm hit Texas over

the past week, their home, farm, and business has lost power and water and his wife

is struggling to keep farm animals fed and alive all while trying to protect the vine-

yard and their investment. As the pastor of Mr. Grider’s church stated in his letter to

the magistrate, “He has a family to take care of and a business to run. He needs to be

back at home taking care of his family and working hard to keep his business open.”

      In conclusion, the Government can speculate all it wants to and spin the evi-

dence to fit their narrative. Mr. Grider simply wants this Court to see and know the

truth. He is not a violent person. He is not a danger to the community. He did not

travel to Washington, D.C. with the intent to commit any violence or any criminal

act. He has not threatened violence since then. He will comply with any conditions of



                                          18
       Case 1:21-cr-00022-KBJ Document 12 Filed 02/18/21 Page 19 of 19




release set by this Court and appear as required to answer the charges against him.

      Mr. Grider respectfully requests this Honorable Court revoke his order of de-

tention and order him to be released on any conditions this Court deems appropriate.

Date: February 11, 2021               Respectfully Submitted,

                                      MAYR LAW, P.C.

                                      by: /s/ T. Brent Mayr
                                      T. BRENT MAYR
                                      Texas State Bar Number 24037052
                                      bmayr@mayr-law.com

                                      5300 Memorial Dr., Suite 750
                                      Houston, TX 77007
                                      Telephone: 713-808-9613
                                      Fax: 713-808-9613

                                      ATTORNEY FOR THE DEFENDANT,
                                      CHRISTOPHER RAY GRIDER

                                      Admitted to Appear Pro Hac Vice


                          CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this memorandum was sent to Counsel

for the Government on February 18, 2021, via CM/ECF and email.

                                      /s/ T. Brent Mayr
                                      T. BRENT MAYR




                                         19
